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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                              CASE NO. 1:21:CR:392-RCL


                                                      DEFENDANTS UNOPPOSED MOTION
VS                                                    TO TRAVEL


RUSSELL TAYLOR
DEFENDANT




Defendant Russell Taylor, through his counsel, files this unopposed motion to travel. Mr. Taylor
is currently wearing the Court Ordered monitoring bracelet and has complied with all Court
Orders. The Government has been presented with the request of Mr. Taylor to travel and they do
not oppose this request.

Mr. Taylor withdraws his prior request to travel to Catalina as it was discovered that is
monitoring system may not function or be able to be charged while on the island.

Mr. Taylor requests that the Court allow him to travel on the following single dates:

     1. October 19 to October 25, 2021 to St George, Utah in order to perform required repairs
        and services upon property owned by the family in St. George. Mr. Taylor will travel by
        car to St. George, Utah.

Counsel is informed that Pre-Trial Service does not object to travel if they are apprised of all
itineraries in advance of said travel.

Respectfully Submitted,


Dyke Huish
Dyke Huish

Attorney for Russell Taylor
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                            CASE NO. 1:21:CR:392-RCL


                                                    ORDER TO ALLOW TRAVEL
VS                                                  (PROPOSED)


RUSSELL TAYLOR
DEFENDANT




                       ORDER TO ALLOW TRAVEL (PROPOSED)

Before the Court is the request of Mr. Russel Taylor to be permitted to travel to St. George, Utah
between October 19 to October 25, 2021. The Government does NOT OPPOSE this request but
reaffirms the requirement that Mr. Taylor maintain his ankle monitor at all times. For the
reasons set forth in it motion, it is

ORDERED, that the motion is GRANTED, and that Mr. Taylor be:

       1. ALLOWED to travel to St. George, Utah October 19 to 25, 2021.



IT IS SO ORDERED,

SEPTEMBER _____, 2021                               ____________________________

                                                    ROYCE C. LAMERTH

                                                    UNITED STATES DISTRICT JUDGE
